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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )       No. 09 CR 814-1
               v.                              )
                                               )       Judge Amy St. Eve
RICHARD HARRINGTON                             )

                PROTECTIVE ORDER DIRECTING THE INTERLOCUTORY
                           SALE OF CERTAIN PROPERTY

       This matter coming before the Court on the government’s motion for entry of a protective

order directing the interlocutory sale of certain property pursuant to the provisions of Title 21,

United States Code, Sections 853(e)(1)(A), and the Court being fully advised finds as follows:

       (a)     On December 16, 2009, a multi-count indictment was returned charging

defendant RICHARD HARRINGTON with violations of the Controlled Substances Act,

pursuant to the provisions of 21 U.S.C. § 846, among other violations;

       (b)     The indictment sought forfeiture to the United States of certain property

including, but not limited to, one 2007 Mercedes Benz S550V, VIN: WDDNG71X97A067857

pursuant to the provisions of 21 U.S.C. § 853;

       (c)     The United States requests action by this Court because financial responsibilities

relating to the subject vehicle have not been satisfied, including the payment of the outstanding

loan held by Mercedes Benz Financial, thereby affecting the value of the vehicle and

jeopardizing the availability of any equity, after satisfaction of obligations, that will be available

for forfeiture to the United States upon conviction. Specifically, the loan held by Mercedes Benz

Financial on the has been delinquent since September of 2009. A partial payment was credited

toward the September payment of $1,149.74. The balance of the loan as of January 2010 was

$40,984.98. After the vehicle was seized on October 8, 2009, it was valued at approximately
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$45,975;

        (d)     Pursuant to 21 U.S.C. § 853, this Court has jurisdiction to enter orders or to take

other action to preserve and to protect property to insure that the property or its equity will be

available for forfeiture in the event of conviction;

        (e)     Title 21, United States Code, Section 853(e)(1) provides in pertinent part:

                Upon application of the United States, the Court may enter a restraining
                order or injunction, require the execution of a satisfactory performance
                bond, or take any other action to preserve the availability of property
                described in subsection (a) of this section for forfeiture under this section -

                        (A) upon the filing of an indictment or information
                        charging a violation of this subchapter or subchapter II of
                        this chapter for which criminal forfeiture may be ordered
                        under this section and alleging that the property with
                        respect to which the order is sought would, in the event of
                        conviction, be subject to forfeiture under this section.

        (f)     Accordingly, in order to preserve the availability of the equity in the foregoing

vehicle subject to forfeiture, the United States requests that this Court enter a protective order

directing the interlocutory sale of the vehicle by the United States Marshals, and that the

proceeds from the sale, after payment of certain verifiable costs, be retained in an escrow

account maintained by the United States Marshal, pending further order of this Court;

        (g)     The United States requested this action because failure to take the proposed action

relating to the vehicle, in all probability, will jeopardize the availability of any equity in the

vehicle, thus making the property or proceeds from the sale unavailable for forfeiture;

        (h)     Upon the sale of the vehicle, the loan held by Mercedes Benz Financial, shall be

paid from the proceeds, including the unpaid principal balance, and interest due at the note rate;

        (i)     Further, that to the extent the United States Marshals Service incurs certain costs,

the United States Marshals Service shall be permitted to deduct from the proceeds of the sale of
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the vehicle, any reasonable and necessary costs incurred to effectuate the sale of the vehicle and

costs incurred to maintain the vehicle, if any, pending sale.

        Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED:

        1.      That the government’s motion for entry of a protective order allowing the

interlocutory sale of one 2007 Mercedes Benz S550V, VIN: WDDNG71X97A067857, pursuant

to the provisions of Title 21, United States Code, Section 853, is granted. The foregoing vehicle,

shall be sold at the direction of the United States Marshals Service; it is further ordered,

        2.      That the proceeds from the sales of the subject vehicle, after the payment of

verifiable costs, shall be retained in the Seized Assets Deposit Fund by the United States

Marshal pending further order of this Court; it is further ordered,

        3.      That, upon the sale of the subject vehicle, the loan held by Mercedes Benz

Financial, shall be paid from the proceeds, including the unpaid principal balance, and interest

due at the note rate; it is further ordered,

        4.      That, the United States Marshal Service may incur certain costs and shall be

permitted to deduct from the proceeds of the sale of the subject vehicle, any reasonable and

necessary costs incurred to effectuate the sale of the vehicle to maintain the vehicle, if any,

pending sale; it is further ordered.

        5.      This Court shall retain jurisdiction in this matter to take additional action and

enter further orders as necessary to implement and enforce this protective order directing the

interlocutory sale of the above-identified vehicle.

                                                       ______________________________
                                                       AMY J. ST. EVE
                                                       United States District Judge

DATED: February 5, 2010
